                                           Case 3:16-cv-03553-MEJ Document 18 Filed 11/22/16 Page 1 of 1




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                                   4                                    UNITED
                                                                             D STATES D
                                                                                      DISTRICT C
                                                                                               COURT

                                   5                                 NORTHER
                                                                           RN DISTRIC
                                                                                    CT OF CALIIFORNIA

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                                        FR
                                         REDRICK ALEXANDE
                                                 A      ER,
                                   7                                                             Case No. 116-cv-035533-MEJ
                                                        Plaintiff,
                                   8                                                             CONDITIIONAL DIS
                                                                                                                SMISSAL
                                                 v.
                                   9
                                        PA
                                         AUL BLAN
                                                NCO'S GOOD
                                                         D CAR
                                  10    COMPANY OF
                                                 O OAKLAAND,
                                  11                    Defendant..

                                  12
Northern District of California
 United States District Court




                                  13           The Co
                                                    ourt having been
                                                                b    advised
                                                                           d that the parrties have aggreed to a setttlement of thhis case, IT

                                  14   IS HEREBY ORDERED
                                                 O       that this casse is DISMIISSED WIT
                                                                                         THOUT PRE
                                                                                                 EJUDICE. However, iff

                                  15   any
                                         y party heretto shall certify to this Co
                                                                                ourt, within nninety (90) ddays, with prroof of serviice thereof,

                                  16   thaat the agreed consideratio
                                                                   on for said settlement haas not been ddelivered oveer, the foreggoing order

                                  17   shaall stand vacated and thiss cause shalll forthwith bbe restored too the calendaar to be set ffor trial. If

                                  18   no certification
                                                      n is filed afteer passage off ninety (90)) days, the diismissal shalll be with prrejudice.

                                  19           IT IS SO
                                                     S ORDER
                                                           RED.

                                  20

                                  21   Daated: Novemb
                                                    ber 22, 2016
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                                  22                                                        __________________________________________
                                                                                            MAARIA-ELEN    NA JAMES
                                  23                                                        Unnited States M
                                                                                                           Magistrate Juudge
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